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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------x
                               :
                               :
     In re                     :                 Chapter 11
                               :
DELPHI CORPORATION, et al.,    :                 Case No. 05–44481 (RDD)
                               :
                      Debtors. :                 (Jointly Administered)
                               :
-------------------------------x

              JOINT STIPULATION AND AGREED ORDER COMPROMISING
                  AND ALLOWING PROOF OF CLAIM NUMBER 10593
                          (KIEFEL TECHNOLOGIES, INC.)
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               Delphi Corporation and certain of its subsidiaries and affiliates, including Delphi

Automotive Systems LLC ("DAS LLC"), debtors and debtors-in-possession in the above-

captioned cases (collectively, the "Debtors"), and Kiefel Technologies, Inc. ("Kiefel")

respectfully submit this Joint Stipulation And Agreed Order Compromising And Allowing Proof

Of Claim Number 10593 (Kiefel Technologies, Inc.) and agree and state as follows:

               WHEREAS, on October 8, 2005, the Debtors filed voluntary petitions under

chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101-1330, as then amended, in the

United States Bankruptcy Court for the Southern District of New York.

               WHEREAS, on July 25, 2006, Kiefel filed proof of claim number 10593 against

DAS LLC, which asserts an unsecured non-priority claim in the amount of $44,876.00 (the

"Claim") stemming from sale of goods or services provided.

               WHEREAS, on July 13, 2007, the Debtors objected to the Claim pursuant to the

Debtors' Nineteenth Omnibus Objection (Substantive) Pursuant To 11 U.S.C. Section 502(b)

And Fed. R. Bankr. P. 3007 To Certain (A) Insufficiently Documented Claims, (B) Claims Not

Reflected On Debtors' Books And Records, (C) Untimely Claim, And (D) Claims Subject To

Modification, Tax Claims Subject To Modification, Modified Claims Asserting Reclamation,

And Consensually Modified And Reduced Claims (Docket No. 8617) (the "Nineteenth Omnibus

Claims Objection").

               WHEREAS, on August 7, 2007, Kiefel filed its Kiefel Technologies, Inc.'s

Response To Notice Of Objection To Claim (Docket No. 8979) (the "Response").

               WHEREAS, pursuant to this Joint Stipulation, DAS LLC acknowledges and

agrees that the Claim shall be allowed against DAS LLC in the amount of $33,622.02.



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              WHEREAS, DAS LLC is authorized to enter into this Joint Stipulation either

because the Claim involves ordinary course controversies or pursuant to that certain Amended

And Restated Order Under 11 U.S.C. §§ 363, 502, And 503 And Fed. R. Bankr. P. 9019(b)

Authorizing Debtors To Compromise Or Settle Certain Classes Of Controversy And Allow

Claims Without Further Court Approval (Docket No. 8401) entered by this Court on June 26,

2007.

              THEREFORE, the Debtors and Kiefel stipulate and agree as follows:

              1.      The Claim shall be allowed in the amount of $33,622.02 and shall be

treated as an allowed general unsecured non-priority claim against the estate of DAS LLC.

              2.      Kiefel shall withdraw its Response to the Nineteenth Omnibus Claims

Objection with prejudice.



So Ordered in New York, New York, this ____ day of September, 2008




                                      ___________________________________________
                                          UNITED STATES BANKRUPTCY JUDGE




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AGREED TO AND
APPROVED FOR ENTRY:

/s/ John K. Lyons                                 /s/ Steven E. Grill
John Wm. Butler, Jr.                              Steven E. Grill
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